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                                                                           Exhibit B

                                                                        Expense Detail

Work Date            Timekeeper Name       English Narrative                                                          Cost Type-Description    Amt
 12/13/2023          Turetsky, David       Lexitas. Invoice Date: 11 September 2023. – Deposition - Video/Technical   Deposition Transcripts   $2,018.85
                                           Testimony – Jeffrey Finger – Re: Foxconn motion to dismiss
 12/13/2023          Turetsky, David       Lexitas. Invoice Date: 11 September 2023. - Deposition - Video/Technical   Deposition Transcripts   $2,450.88
                                           Testimony – Edward Hightower – Re: Foxconn motion to dismiss
 12/21/2023          Padmanabhan, Aditi    Overtime Meals - Aditi Padmanabhan - Overtime meal expense. - 07-Dec-23    Overtime Meals             $35.00




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